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                 EXHIBIT 3
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                               In the l-lame t~f God, ;Host Gracious, iWost jlferc{fi1l
Palestjnian National Authoritv                              ll
lVlinistrv of Social Affairs ·
Marfyr;' Families & Injured Car, Eslablishment          I I
                                               (',,'IJJr -'":'1·




                             In the Name of God, Most Gracious, Most Merciful


                                              Social Examination


                                          Case: At-Aqsa Martyr/Military


Name:                 Wafo' Ali Khalil Idris
Local No.:            496
Central No.:          013205
Governon1te:          Ramallah & al-Bireh / Al-A.maari Refugee Camp

Date:                 Februaiy 14, 2002




Ramallah     Tel/fax: XX-XXXXXXX


                                               CONFIDENTIAL                                       02:006761




                                                                                              PFS00000040,0001
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      I: Personal Data
( ' \ Local No.: 496                                                 Central No.:
, / Case Name:        Wafa' Ali Khalil Idris                         Code Name: ...
      Nationality: Palestinian                                       Identity No.: 935068155
      Beneficiary's Full Name: Wasfiya Mabrouk Saleh Idris           Identity No.: 935_068122
                             (Wife, Father, Mother, Brother, Sister)
      Mother's Full Name: Wasfiya Mabrouk Saleh                      Identity No.: 935068122
      Wife's Name:                                                   Identity No.:
      Date & Place of Birth: October 22, 1971, Ramallah (Al-         Original Town: Ramallah




     -
      Amaary Refugee Camp)
      Religion: Muslim                                               Gender: Female             Marital Status: Divorced
      Previous Work:                                                 Current Work:

     Academic Qualification: 10th Grade                              Date & No. of Accreditation:
     Date of Accreditation in the Establishment:

     II: Administrative Data
     Military Rank:                                                      Organizational Rank:
     Rank Accreditation Letter:                                          No.            Date:
     Development of Previous Allocation:                                 Current:        Modifications:
     Organization to which he/ she belongs: Fatah                        Sector:


o
     Date of Joining the Revolution:                                     Organizational:    Militarily:   Reordering:
     Courses Attended:
     Date & Place of Event: January 27, 2002, Jerusalem

     Description of the Event:
                                                                                     afa' Ali Khalil Idris blew herself up in
                                                                                               .      ..          .


     Brief Description about his/her Life




     Family Housing: Owned:                  Leased          Joint

     Monthly Leasing Rate:

     Complete Address: Al-Amaary Refugee Camp, Abu Darweesh Street, near the Red Crescent Building

     Telephone:       Home: 2961779 / 059337696,      Khalil Idris her brother, 055513422, Sultan Idris her
     brother, Khalil: 0599535327, Khalil Home: 0599989594


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                                                                                                            PFS00000040.0002
        Case 1:04-cv-00397-GBD-RLE                    Document 1020-3            Filed 11/19/20         Page 4 of 26


      Martyr of al-Aqsa/Ramallah: Wafa' Ali Khalil Idris [handwritten]
( \ HI: Family Index: *Married I Single
\   . ) (1) Married: Wives and minor children are recorded first, then adult offspring, then parents and siblings.
        (2) Single: Parents and minor siblings are recorded first, then adult siblings.   ·
                                                    2004/2005 [handwritten]

      Series   Name      Relationship Date of Birth     Academic          Profession       Marital Status     Address
                                                       Qualification
         1     Wasfiya     Mother         1939           Illiterate       Housewife           Widow          Al-Ama'ary
                                                                                                            Refugee Camp
         2     Khalil      Brother        1967          12th Grade     Office Manager of      Married
                                                                         Taxi Betunia                            "
         3     Khaled      Brother        1969          11th Grade           Driver           Married            "
        4      Sultan      Brother        1974          10th Grader          Driver           Married            "
        5
        6
        7
         8
         9
        10
        11
        12
        13
        14
        15

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        16
        17
        18
        19
        20
        21

      No. of Dependants: (I)
         - Married: wives and minor children:
         - Single: parents and minor siblings: Mother only.
         - Notes on Family Index: Martyr's father is deceased.




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                                                                                                            PFS00000040.0003
       Case 1:04-cv-00397-GBD-RLE                         Document 1020-3                 Filed 11/19/20             Page 5 of 26


       [illegible handwriting]                                                                       .
   \ Department's Recommendation:
(• _) * The martyr is one of the al-Aqsa Intifada martyrs; the martyr is divorced without children; her father is
 · ·       deceased; her mother is alive; she has three married brothers.
      * She was martyred during a heroic martyrdom operation against the Zionists in the occupied city of
           Jerusalem.
      * Therefore, we recommend that she is considered one of the al-Aqsa Intifada Martyrs according to the
           regulations.
           Date: February 14, 2002                   Signature Suleiman al-Deek

     Decision of the Director of the Establishment: (                       )




         ...................................................... Date: ......................... Signature ............................. .
     Allocation Calculation
     Principal        Wife       Children                        Mother         Minor     Siblings Total Dn Dinars}


     Other Bonuses:
     Total (in Dinars):
     Total (in Shekels):

0    Approval of the General Director:
     She is considered (one of the al-Aqsa martyrs), confirmed, as of January 2, 2002 with an allocation of 600
     Shekels a month.
     Date: February 14, 2002                                                              Signa ture[Signature]
     Audit Notes                                          Date                      Signature




     Computer Notes                                      Date                       Signature




                                                          CONFIDENTIAL                                                       02:006764




                                                                                                                       PFS00000040.0004
      Case 1:04-cv-00397-GBD-RLE                  Document 1020-3              Filed 11/19/20      Page 6 of 26



    [illegible] Judea and Samaria [Emblem] [illegible] Staff Officer for Internal Affairs

                                                Certificate of Birth


           Idris                  Wafa                          [illegible]
           Last Name              First Name                    Father's First Name

    Khalil                        Wasfiya                       [illegible]
    Grandfather's Name            Mother's First Name           Maternal Grandfather's Last Name

           Sex        Female                             Identity No.~[=iH~e...
                                                                            gi=b=le~l--~--

           Born in               Al-Amari Camp
                           Name of city/ town                                   Name of Hospital

           On [date]                     22             [illegible1     1971
                                         Day            Month           Year

                                                 Religion       Muslim

    I hereby certify that the above newborn was registered in the Births Ledger for the year

0     5
    4/ /265/33/1971


    Issued at the Population Administration Office in Judea and Samaria on [illegible date].

                                  [Stamp] Regional Population
                                         Administration Office          [Signature]
                                         Judea and Samaria              [Stamp] P. Katzav
                                        Office stamp                    Birth Registration Clerk




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                                                                                                    PFS00000040.0005
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        CIVIL ADMINISTRATION IN JUDEA AND SAMARIA AREA               IDENTITY DOCUMENT

~
\,
   ) Identity Number
    /
                             9 3506815 5

        First Name           Wafa
        Father's Name        Ali
        Grandfather's Name   Khalil
        Last Name            Idris
        Mother's Name        Wasfiya                                 [Photograph]
        Date of Birth        October 22, 1971                        [Stamp] Israel Defense Forces
        Place of Birth       Ramallah                                [Signature]
        Sex                  Female        Religion        Muslim
        Issued in            Ramallah              on date           December 6, 1987


   Civil Administration in Judea and Samaria Area Annex to Identity Document
                                    Identity No.          9 3506815 5
   Last name       [Stamp] Received gas             Idris                      Copy of the martyr's identity document
   First name               mask - Malha            Wafa                       [handwritten]
   Address                  Al- Refugee Camp
                            Al-Bireh
                            City
   Marital Status Single            Spouse's Identity No.
   Spouse's Name
   Spouse's Identity No.
   Spouse's Name


C
   Previous Last Name
   Previous First Name
   ·'------------




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              Case 1:04-cv-00397-GBD-RLE                      Document 1020-3       Filed 11/19/20   Page 8 of 26



( ~ Palestinian Authority                     Annex to Identity Document
                                              Identity No.            9 3506812 2
    \" · / Last Name                                          Idris
           First Name                                         Wasfiva
           Address                   Amari
                                     Al-Bireh
                                     City
            Marital Status Widow                     Spouse's Identity No.
            Spouse's Name
            Spouse's Identity No.
            Spouse's Name
            Previous Last Name
            Previous First Name

            [entirely illegible identity document]




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  Case 1:04-cv-00397-GBD-RLE                     Document 1020-3        Filed 11/19/20   Page 9 of 26



Palestinian Authority             Annex to Identity Document
                                  Identity No.            9 3506812 2
Last Name                                         Idris
First Name                                        Wasfiya
Address                  Amari
                         Al-Bireh
                         City
Marital status Widow                     Spouse's Identity No.
Spouse's Name
Spouse's Identity No.
Spouse's Name
Previous Last Name
Previous First Name

[entirely illegible identity document]




                                                     CONFIDENTIAL                             02:006770




                                                                                          PFS00000040.0008
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n
     CIVIL ADMINISTRATION IN JUDEA AND SAMARIA AREA                      IDENTITY DOCUMENT

     Identity No.          9 3506815 5

     First Name            Wafa
     Father's Name         Ali
     Grandfather's Name    Khalil
     Last Name             Idris
     Mother's Name         Was:fiya                                      [Photograph]
     Date of Birth         October 22, 1971                      [Stamp] Israel Defense Forces
     Place of Birth        Ramallah                                      [Signature]
     Sex                   Female         Religion        Muslim
     Issued in             Ramallah               on date               December 6, 1987


    Civil Administration in Judea and Samaria Area Annex to Identity Document
                                     Identity No.         9 3506815 5
    Last Name       [Stamp] Received gas            Idris
    First Name               mask - Malha           Wafa
    Address                  Al-Amari Refugee Camp
                             Al-Bireh
                             City
    Marital Status Single           Spouse's Identity No.
    Spouse's Name
    Spouse's Identity No.
    Spouse's Name


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    Previous Last Name
    Previous first-
    ~             Name - - - - - ~




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          Case 1:04-cv-00397-GBD-RLE                   Document 1020-3              Filed 11/19/20         Page 11 of 26


         [illegible] Judea and Samaria [Emblem] [illegible] Staff Officer for Internal Affairs
(~\I
\   ./                                                 Certificate of Birth

                Idris                     Wafa                          (illegible J
                Last Name                 First Name                    Father's first Name

         Khalil                           Wasfiya                       (illegibleJ
         Grandfather's Name               Mother's First Name           Maternal Grandfather's Last Name

                Sex        Female                               Identity No.~f_ill~e~g1~·b~le~J_ _ _ __

                Born in                   Al-Amari Camp
                                    Name of City I Town                                 Name of Hospital

                On [Date]                       22              October         1971
                                                Day             Month           Year

                                                       Religion         Muslim

         I hereby certify that the above newborn was registered in the Births Ledger for the year

         4;5/,65/33/1971

0        Issued at the Population Administration Office in Judea and Samaria on December 8, 1986.

                                          [Stamp] Regional Population
                                                 Administration Office          [Signature]
                                                 Judea and Samaria              [Stamp] P. Katzav
                                                Office Stamp                    Birth Registration Clerk




                                              Copy of the martyr's identity document
                                              [handwritten]




                                                           CONFIDENTIAL                                         02:006773




                                                                                                             PFS00000040.0010
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     CIVIL ADMINISTRATION IN JUDEA AND SAMARIA AREA                     IDENTITY DOCUMENT

~ ) Identity Number         9 3506814 8

     First Name            Khaled
     Father's Name         All
     Grandfather's Name    Khalil
     Last Name             Idris
     Mother's Name         Wasfiya                                     [Photograph]
     Date of Birth         May 16, 1969                        [Stamp] Israel Defense Forces
     Place of Birth        AI-Bireh                                    [Signature]
     Sex                   Male         Religion        Muslim
     Issued in             Ramallah             on date               November [illegible], 1992


     Civil Administration in Judea and Samaria Area Annex to Identity Document
                                      Identity No.           9 3506814 8
     Last Name                       Idris
     First Name                      Khaled
     Address                                         0     ·o
                              Al-Bireh
                              City
     Marital Status Married          Spouse's Identity No. 9 3858496 8
     Spouse's Name Marfat
     Spouse's Identity No.
     Spouse's Name


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     Previous Last Name
     Previous First Name
    ' - - - - - - - - - - - - - - - '




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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK


      MARK I. SOKOLOW, et al.,

                                   Plaintiffs,
                                                           No. 04 Civ. 00397 (GBD) (RLE)
            vs.
      THE PALESTINE LIBERATION
      ORGANIZATION, et al.,

                                   Defendants,



                             DECLARATION OF ADNANE ETTAYEBI

            Adnane Ettayebi hereby certifies as follows:

         1. The attached translation from Arabic to English is an accurate representation of the

0           document received by Rina Ne'eman Hebrew Language Services, to the best of my

            knowledge and belief. The document is designated as ·002:006761-6774.

        2. I am a professional translator with a B.A. in Romance Language Literature from the

            University of Central Florida. I am fluent in Arabic and English, and r am qualified to

            translate accurately from Arabic to English.

        3. To the best of my knowledge and belief, the accompanying text is a true, full and

            accurate translation of the Arabic-language document bearing the bates number

            D02:006761-6774.




                                                                 Adnane Ettayebi




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                                                                                             PFS00000040.0012
           Case 1:04-cv-00397-GBD-RLE               Document 1020-3            Filed 11/19/20        Page 14 of 26




n
     .';

    .r
    I.!,




             ss.: New Jersey

                     On the [<:"q,] day of February, 2014 before me, the undersigned, personally appeared
             Adnane Ettayebi, personally known to me or proved to me on the basis of satisfactory evidence
             to be the individual whose name is signed to this Declaration and acknowledged to me that he
             executed the same in his capacity, and that by his signature on this Declaration, the individual
             executed the Declaration.


             Sworn to me this
             <Cb day of February," 2014


              C
             Nota




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    Case 1:04-cv-00397-GBD-RLE                                                                            Document 1020-3                                                   Filed 11/19/20                                       Page 17 of 26



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     ~••n1u•••-••n""'•n•1. ••••., ,... H               y   '°'•••n•--••n.• .. ••• .. •--••~•••••• ................... .-•••••• .. •••N-•••~•••..,••.., .. •.. H•H•..,,.,.,, _ _ ,.....,....,,.. •.,..... ... ,,),o,on,1•••u••••" .... .,....... ,,,._,., ".. ..,..-, ••.,.. ......... ..,......... ,,..




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